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                      UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF PENNSYLVANIA

 PFIZER INC.,                                         Civil Action No.
                 Plaintiff,

                         v.                           17-cv-04180

 JOHNSON & JOHNSON and JANSSEN
 BIOTECH, INC.,

                              Defendants.


                                            ORDER

              AND NOW, this             day of                      , 2021, upon

consideration of Defendants’ Motion to Withdraw the Appearance of Julia R. Livingston as

Counsel and any responses thereto, it is HEREBY ORDERED that the motion is GRANTED.


                                                           BY THE COURT


                                                           J. Curtis Joyner, J.




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                       UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF PENNSYLVANIA

 PFIZER INC.,                                            Civil Action No.
                  Plaintiff,

                          v.                             17-cv-04180

 JOHNSON & JOHNSON and JANSSEN
 BIOTECH, INC.,

                               Defendants.


 DEFENDANTS’ MOTION TO WITHDRAW THE APPEARANCE OF BENJAMIN F.
                      JACKSON AS COUNSEL

       Defendants Johnson & Johnson and Janssen Biotech, Inc. move to withdraw the

appearance of Julia R. Livingston. See L. R. Civ. P. 5.1(c). Ms. Livingston’s application to

practice in this Court pursuant to Local Rule 83.5.2 was granted on January 16, 2020. ECF No.

130. Ms. Livingston has accepted another position and will no longer be associated with

Patterson Belknap Webb & Tyler LLP as of January 22, 2021. Defendants will continue to be

represented in this matter by their remaining counsel.

       For the foregoing reasons, the Motion should be granted.

       WHEREFORE, Defendants respectfully request that the Court enter the proposed Order

granting Defendants’ motion.




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Dated: January 21, 2021
                                          Respectfully submitted,

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                                          Counsel for Johnson & Johnson
                                          and Janssen Biotech, Inc.




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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 21, 2021, I electronically filed the foregoing motion using

the CM/ECF system, which will send notification of such filing to all parties of record.



                                                            /s/ Leslie E. John
